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                                   3                                UNITED STATES DISTRICT COURT

                                   4                            NORTHERN DISTRICT OF CALIFORNIA

                                   5                                        SAN JOSE DIVISION

                                   6
                                        SEAN ALLEN, et al.,
                                   7                                                      Case No. 14-cv-03829-BLF
                                                      Plaintiffs,
                                   8
                                                v.                                        ORDER VACATING ALL DEADLINES,
                                   9                                                      HEARINGS, PRETRIAL DATES, AND
                                        COUNTY OF SANTA CLARA, et al.,                    TRIAL DATES
                                  10
                                                      Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Having been informed that the parties have reached settlement as to all claims in this case,

                                  14   the Court hereby VACATES all scheduled deadlines, hearings, pretrial dates, and trial dates.

                                  15          IT IS SO ORDERED.

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                                  17   Dated: July 1, 2016

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                                                                                      BETH LABSON FREEMAN
                                  19                                                  United States District Judge
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